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                                                                            CLERK U.S. DISTRICT COURT
                                                                         SOUTHERN DISTRICT OF CALIFORNIA
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 9
                                           UNITED STATES DISTRICT COURT
10
                                       SOUTHERN DISTRICT OF CALIFORNIA
11

12 UNITED STATES OF AMERICA,                                Criminal No. 2   4- mJ ... ISlo \ - BLYYl
13                            Plaintiff,
         v.                                                 DETENTION ORDER
14
1s       /Jnrl'tJYJitt~nav
                       (J    • Defendant.
16

17
         A.     Order For Detention
18
                After conducting a detention hearing pursuant to 18 U.S.C.§3142(f) of the Bail Reform Act,
19
         the Court orders the above named defendant detained without bail pursuant to 18 U.S.C.
20
         §3142(e) and (i).
21
         B.     Statement of Reasons For the Detention
22
                The Court orders the defendant's detention because it finds:
23

24
                ~            By a preponderance of the evidence that no condition or combination of
                             conditions will reasonably assure the appearance of the defendant as
25
                             required.
26
                             By clear and convincing evidence that no condition or combination of
27
                             conditions will reasonably assure the safety of any other person and the
28
                             community.

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 1   C.      Findings of Fact

 2          The Court's findings are based on the evidence presented to the Court, including the
 3   criminal complaint and attorney proffer(s), and the information contained in the Pretrial Services
 4   Report. After considering all of the relevant information and evidence, the Court finds as follows:
 5          (1) Nature and circumstances of the offense charged:
 6               (i         (a) The offense charged: fi.17d R.. f?:c·, ;=,)l1w , r { - , r ~ e l , t n -
 7           is a serious crime and carries a maximum penalty of                                ,ft ,e_
 8                         ___ and a mandatory minimum sentence of_ _ _ _ _ _ __

 9          _ _ _ (b) The offense is a crime of violence.
10          _ _ _ (c) The offense is a federal crime of terrorism listed in 18 U.S.C.
11           §2332b(g)(S)(B) for which the maximum term of imprisonment is 10 years or more.
12          _ _ _ (d) The offense involves a narcotic drug.
13          _ _ (e) The offense involves a large amount of controlled substances, to wit:
14

15          (2) Weight of the evidence against the defendant. The Court acknowledges that this is the
16           least significant factor but finds as follows:
17               K (a) There is probable cause to believe the named defendant committed the
18          charged offense.
19          _      _        (b) The evidence against the defendant is strong including that _ __ __

20
21           (3) History and characteristics of the defendant:

22          __L_ The defendant appears to have a mental condition which may affect
23          whether the defendant will appear.
24          _ ,K...__ The_d!f~n~limited fa                    j.~ ~ e _ t y5 D ;J;~_
25             'X....__ The defe.:t~!!?~g___time resident of the community. '7""
            -..+                                                                               ~~
26          ___./;l.._v_     The de;ndant doe; not   ~~{n~~~ c;-ntm~~ty~es.                    Hi.e,,u5
27           _..,..i_ The defendant has significant family ties to Mexico.
28          _...._X_ The /4rindant
                           1  1    has othec_significant ties to Mexico., _ _f_ ~,,,,,
                                Lc; D IA~JNt-MX w/~tf-:£~J~
                                    ~                                                ,c.--t,



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     1         'f:       The defenda,nt doe~J)ot have steacw enJ~loyment in the United States.
 2
                              - l'l WJ  .:5eJt~[    ¾4 t J - w ~ ~ M,x
                         The defendant doe~ ~ ,~ve substan.,t,ial financial resources or assets in the
 3          United States.                        ~~,J~tt:!.,k.7n-f~S;?
 4          _ _ _ The defendant did not present any7a sufficient bond proposal.
 5          _ __ Past conduct of the defendant:_ _ _ _ _ _ _ _ _ _ _ _ _ __
 6

 7          _ _ _ The defendant has a history relating to drug abuse.
 8          _ _ _ The defendant has a history relating to alcohol abuse.
 9          _ __ The defendant has a significant prior criminal record.
IO              p( The defendant has a prior record of failure to appear at court proceedings.
11          _ _ _ The defendant has a prior record of probation, parole or supervised release
12          violations and/or revocations.
13          _ __ The defendant is an illegal alien and is subject to deportation.
14          _ _ _ The defendant is a legal alien and will be subject to deportation if
15          convicted.                                             ~~
16             X Other: !J M-4 :fa-I,;ij~ l /,2.,,¥~/'..e4d ,'1,Ja.-£0?tJ: h:a.
                                                            1
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                            ~:~1~:l;:~4
                             ~'u:                                                                   .
20         _ _ _ At the time of the current arrest, the defendant was on:
21                  _ _ _ Probation _ __ Parole __ Supervised Release
22                  _ _ _ Release pending trial, sentence, appeal or completion of sentence.
23         (4) T~        ature and seriousness of thE; ~   er posed by,the defendant's release ~re as
24         follows:   CJ O?d/nA: A ~                       E~ h,,~h--,>,,:1:- /2 t:4--:
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     1           (5) Rebuttable Presumptions
 2               In determining that the defendant should be detained, the Court also relied on the
 3               following rebuttable presumption(s) contained in 18 U.S.C. §3142(e) which the Court finds
 4               the defendant has not rebutted.
 5                          (a) That no condition or combination of conditions will reasonably assure the
                               safety of any other person and the community because the Court finds that
 6                             the crime involves:
 7                                            (A) A crime of violence or a crime listed in 18 U.S.C.
                              §2332b(g)(S)(B) for which the maximum sentence is 10 years or more; or
 8
                              --,-.,..,. (B) An offense for which the maximum penalty is life imprisonment
 9                            or death; or
10                            ---.:-,:-=--- (C) A controlled substance violation which has a maximum penalty
                              of 10 years or more; or,
11
                              -==-- (D) A felony after the defendant had been convicted of two or more
12                            offenses described in (A) through (C) above,
13                            AND the defendant has a prior conviction for one of the crimes mentioned in
                              (A) through (C) above, which was committed while the defendant was on
14                            pretrial release and no more than five years have passed since his release
                              from imprisonment for that crime.
15
                 ___ (b) That no condition or combination of conditions will reasonably assure the
16                       appearance of the defendant as required and the safety of the community
                         because the Court finds that there is probable cause to believe:
17
                                           (A) That the defendant has committed a controlled substance
18                            violation which has a maximum penalty of 10 years or more.
19                                     (B) That the defendant has committed an offense under 18 U.S.C.
                              ==---......
                              §§924(c), 956(a) or 2332b.
20
                              ==....,.. (C) That the defendant has committed an offense listed in 18 U.S.C.
21                            §2332b(g)(S)(B) which has a maximum penalty of 10 years or more.
22                                               (D) That the defendant has committed an offense involving a minor
                              __,,vi_, .ct.im-u-nder
                                           ,....     18 U.S.C. §§1201, 1591, 2241, 2242, 2244(a)(l), 2245, 2251,
23                            2251A, 2252(a)(1), (2) or (3), 2252A(a)(l), (2), (3) or (4), 2260, 2421, 2422,
                              2423 or 242S.
24
         D.     Additional Directives
25
                IT IS ORDERED that the defendant be committed to the custody of the Attorney General
26
         or his designated representative for confinement in a corrections facility separate, to the extent
27
         practicable, from persons awaiting or serving sentences or being held in custody pending appeal.
28
         The defendant shall be afforded a reasonable opportunity for private consultation with his counsel.
                                                         '

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                   While in custody, on order of a court of the United States or on request of an attorney for
 2 the government, the person in charge of the corrections facility shall deliver the defendant to a
 3 United States Marshal for the purpose of an appearance in connection with a court proceeding or
 4 any other appearance stipulated to by defense and Government counsel.
 5                 This order is made without prejudice to modification by this Court.
 6                 IT IS SO ORDERED.
 7   Dated: ~ 3/.z'j
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 9
10   cc: District Judpe
         All Counse of Record
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